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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 AMERICAN IODINE COMPANY, INC., §
                                §
      Plaintiff,                §
                                §
                                §
 v.                             §                      CIVIL CASE NO. 4:20-CV-00582
                                §
 COSAYACH EXPORTADORA SA,       §
 MITSUI CHEMICALS, INC.,        §
 MARUBENI CORPORATION, AND      §
 ECOFUSION INC.                 §
                                §
      Defendant.                §

               COSAYACH EXPORTADORA SA’S MOTION TO DISMISS
                   PLAINTIFF’S FIRST AMENDED COMPLAINT

       Defendant Cosayach Exportadora SA (“Cosayach”) hereby moves to dismiss Plaintiff

American Iodine Company’s (“AIC”) First Amended Complaint (Dkt. 7) pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure.

       Cosayach is a Chilean mining company that produces iodine for export all over the world,

including approximately 20-25 customers in the United States. Customers use the iodine produced

by Cosayach in a variety of ways, including in products like x-ray contrast media, biocides,

pharmaceutical compounds, LCD Optical Polarizing Films, Heat Stabilizers, Fluorine Derivates,

Iodine for Human and Animal Nutrition, and iodine-based disinfectants. AIC was previously

involved in the distribution of Cosayach’s iodine to customers in the United States, primarily by

organizing financing and logistics, but that distribution was not governed by a long-term

agreement, nor did the parties have an exclusivity agreement.

       Earlier this year, AIC refused to pay Cosayach for millions of dollars in iodine, obtained

additional iodine from Cosayach through actionable misrepresentations, and transferred millions

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of dollars in iodine earmarked for U.S. customers out of the country. AIC delivered part of the

additional iodine to and accepted payment from the appropriate end users, but then, until recently,

kept the proceeds from those sales, refusing to use them to pay Cosayach as agreed. Instead of

delivering the remainder of the additional iodine to the intended U.S. customers, AIC shipped it

out of the United States. As a result, the intended end users of Cosayach’s iodine were put in

jeopardy of having to halt their manufacturing processes and Cosayach and the end users were sent

scrambling to find iodine available for immediate purchase in the United States.

             AIC’s failure to meet its payment and delivery obligations and misrepresentations forced

Cosayach to stop doing business with AIC, and AIC’s wrongdoing forced Cosayach to deal with

other U.S. distributors.

             Perhaps deciding that the best defense was a good offense, AIC filed this lawsuit.

                                  I.     SUMMARY OF ARGUMENT

             On July 29, 2020, AIC filed a four-count Complaint 1 against Cosayach and three additional

Defendants. On September 7, 2020, after being ordered by the Court to re-plead in light of its

failure to sufficiently allege facts supporting this Court’s jurisdiction, AIC filed its First Amended

Complaint2 (the “Amended Complaint”) against Cosayach and two additional Defendants, Mitsui

& Co. (U.S.A.), Inc. (“Mitsui”) and Marubeni Corporation (“Marubeni”). AIC alleges breach of

contract against Cosayach and tortious interference with existing contracts and with prospective

relations and conspiracy against all Defendants. The crux of AIC’s Amended Complaint and its

claims is that Cosayach and AIC entered into an alleged oral agreement in 2006 pursuant to which

AIC claims it was given the perpetual and exclusive right to sell iodine produced by Cosayach to

Cosayach’s North American customers (the “Oral Agreement”). AIC asserts that Cosayach


1
    Dkt. 1
2
    Dkt. 7

                                                     2
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breached the alleged Oral Agreement in numerous ways, including by preventing AIC from selling

iodine to some of its key customers, 3 refusing to ship additional quantities of iodine to AIC, 4

unilaterally appointing a new iodine distributor, 5 and soliciting or communicating with AIC

customers,6 employees,7 and former employees.8

         AIC also alleges that Cosayach used AIC’s allegedly confidential customer and market

information to “intimidate” AIC’s customers, appoint new distributors, and supply the same

product to AIC’s customers via the new distributors. 9 Plaintiffs’ tortious interference and

conspiracy claims are based entirely on some of these same alleged breaches of the Oral

Agreement. With respect to the other two Defendants, Cosayach alleges that they tortiously

interfered with the Oral Agreement by distributing Cosayach’s iodine in the United States.

         Every one of AIC’s claims in this case is premised on the alleged Oral Agreement between

AIC and Cosayach. However, AIC has failed to plausibly allege facts that establish even the

existence of an enforceable contract between the parties—let alone an everlasting and non-

terminable exclusive distribution agreement. The Amended Complaint does not even set out the

basic terms needed to form an agreement—conspicuously absent are both the price and term of the

alleged Oral Agreement. While the Amended Complaint does set out some of the purported terms

of the alleged Oral Agreement, it does so in a conclusory fashion wholly devoid of the factual

allegations necessary to state a plausible claim.

         Moreover, the alleged Oral Agreement would violate the Statue of Frauds and, as a result,

be rendered unenforceable. Because AIC’s Amended Complaint lacks facts sufficient to show the


3
  Id. at ¶ 15
4
  Id. at ¶ 17
5
  Id. at ¶ 20
6
  Id. at ¶¶ 22, 23, 24
7
  Id. at ¶ 21
8
  Id. at ¶ 23
9
  Id. at ¶ 19, 20

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existence of the Oral Agreement, which would violate the statute of frauds even if sufficiently

pleaded, AIC’s breach of contract claim against Cosayach should be dismissed. Similarly, because

AIC’s claims for tortious interference with existing contracts and prospective relations and for

conspiracy are premised entirely on alleged violations of the Oral Agreement, those claims should

also be dismissed as to all Defendants. Because all of AIC’s claims are premised on the Oral

Agreement, which is unenforceable under the statute of frauds, any attempt to amend would be

futile. Accordingly, the Court should deny leave to amend.

                                II.      STATEMENT OF THE ISSUES

            1. Is the Oral Agreement subject to the statute of frauds?

            2. Has AIC pled facts sufficient to show an enforceable agreement exists?

            3. Has AIC pled facts sufficient to support a claim for breach of contract?

            4. Has AIC pled facts sufficient to support a claim for tortious interference with existing
               contractual relations?

            5. Has AIC pled facts sufficient to support a claim for tortious interference with
               prospective business relations?

            6. Has AIC pled facts sufficient to support a claim for conspiracy?

                                  III.    FACTUAL BACKGROUND

            According to the allegations set forth in the Amended Complaint, the relationship between

AIC and Cosayach began in 2006 when Cosayach chose to use AIC as its distributor of iodine in

North America and the two parties entered into the Oral Agreement. 10 AIC alleges that it agreed

to develop the North American market by enrolling new customers, building relations with key

accounts, managing the local logistics of distribution, warehousing product for Cosayach and

providing finance for working capital for Cosayach. 11 Further, AIC contends that Cosayach agreed



10
     Id. at. ¶ 10-12
11
     Id.

                                                     4
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to support AIC on any quality, technical, compliance, and/or packaging needs of the customer(s) 12

and that AIC shared customer information with Cosayach in furtherance of the Oral Agreement. 13

AIC alleges that, pursuant to the Oral Agreement, Cosayach was meant to allocate 30% of its

production for AIC to sell in the North American market. 14

         AIC alleges that Cosayach breached the Oral Agreement including by stopping supplies to

AIC, unilaterally appointing a new distributor,15 communicating and intimidating AIC’s customers

into terminating their use of AIC as a distributor in North America, 16 supplying product to

customers without AIC’s knowledge, 17 soliciting AIC customers,18 and soliciting and

communicating with former employees of AIC to gain confidential information about AIC’s

business and customers. 19 AIC also alleges that Cosayach used AIC’s allegedly confidential

customer and market information to “intimidate” AIC’s customers, appoint new distributors, and

supply the same product to AIC’s customers via the new distributors—all claims that depend on

the existence and enforceability of the Oral Agreement. 20 AIC also alleges that Defendants

interfered with both its existing and prospective contracts, 21 and conspired to use AIC’s

confidential information in violation of the Oral Agreement to put AIC out of the iodine market

and out of business.22




12
   Id.
13
   Id. at ¶ 13
14
   Id. at ¶ 14
15
   Id. at ¶¶ 17, 20
16
   Id. at ¶ 19
17
   Id. at ¶ 20
18
   Id. at ¶ 22
19
   Id. at ¶ 23
20
   Id. at ¶ 19, 20
21
   Id. at ¶¶ 32-42
22
   Id. at ¶ 44

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                                   IV.     LEGAL STANDARD

        Fed. R. Civ. P. 12(b)(6) allows for dismissal of a complaint for “failure to state a claim

upon which relief can be granted.” To survive a Rule 12(b)(6) challenge, a plaintiff’s complaint

must include “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). If the “complaint pleads

facts that are merely consistent with a defendant’s liability, it stops short of the line between

possibility and plausibility of entitlement to relief.” Id. (quotations omitted).

        Rule 8’s standard “demands more than an unadorned, the-defendant-unlawfully-harmed-

me accusation.” Id. “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of

the elements of a cause of action will not do.’ Nor does a complaint suffice if it tenders ‘naked

assertion[s]’ devoid of ‘further factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 555).

“When the allegations in a complaint, however true, could not raise a claim of entitlement to relief,

‘this basic deficiency should . . . be exposed at the point of minimum expenditure of time and

money by the parties and the court.’” Twombly, 550 U.S. at 558 (quoting 5 Wright & Miller,

Federal Practice and Procedure § 1216, at 234).

        Although leave to amend should generally be “freely given” to correct a defective

complaint, see Foman v. Davis, 371 U.S. 178, 182 (1962), it is within the district court’s discretion

to deny leave to amend because an amendment would be futile. Little v. SKF Sverige AB, 594 Fed.

Appx. 810, 813 (5th Cir. 2014); see also DeLoach v. Woodley, 405 F.2d 496, 496–97 (5th Cir.

1968) (“The liberal amendment rules of Fed. R. Civ. P. 15(a) do not require that courts indulge in

futile gestures.”).



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                          V.     ARGUMENT AND AUTHORITIES

    A. AIC’S Breach of Contract Claim Fails Because AIC has not Alleged the Existence
       of an Enforceable Contract

    To adequately plead a breach-of-contract claim, AIC must set forth facts that, taken as true,

plausibly allege: (1) the existence of a valid contract; (2) performance or tendered performance by

AIC; (3) Cosayach breached the contract; and (4) AIC sustained damages as a result of the breach.

Permian Power Tong, Inc. v. Diamondback E&P, LLC, 550 S.W.3d 642, 650 (Tex. App.—Tyler

2017), judgment set aside, opinion not vacated, 12-16-00092-CV, 2017 WL 2824311 (Tex. App.—

Tyler June 30, 2017, no pet.). It has not done so here for the following reasons.

            1. AIC failed to plead facts sufficient to show the alleged Oral Agreement is a
               binding contract.

       AIC’s complaint must be dismissed because each of its causes of action assumes the

existence of a binding contract, something which it has failed to adequately plead. “A binding

contract must have an offer and an acceptance, and the offer must be accepted in strict compliance

with its terms. The parties must have a meeting of the minds, and each must communicate his

consent to the terms of the agreement.” Angeles v. Brownsville Valley Reg’l Med. Ctr., Inc., 960

S.W.2d 854, 859 (Tex. App.—Corpus Christi 1997, pet. denied). As explained below, AIC’s live

Complaint does not sufficiently allege these elements.

               a. AIC alleges no facts that that support the existence of a meeting of the minds
                  with respect to the terms of the alleged Oral Agreement.

       A “meeting of the minds” means that the parties have a mutual understanding of an assent

to the subject matter and essential terms of a contract. 2001 Trinity Fund, LLC v. Carrizo Oil &

Gas, Inc., 393 S.W.3d 442, 449 (Tex. App.—Houston [14th Dist.] 2012, pet. filed). A promise or

term is an essential and material part of an agreement if, at the time of contracting, the parties

would reasonably regard it as a vitally important element of the bargain. Fischer v. CTMI, L.L.C.,


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479 S.W.3d 231, 237 (Tex. 2016). The omission or indefiniteness of an essential and material term

makes the contract unenforceable. T.O. Stanley Boot Co., Inc. v. Bank of El Paso, 847 S.W.2d 218.

221-22 (Tex. 1992).

           AIC has not pled any relevant facts around the alleged formation of the contract—and

instead only levied the unsupported, conclusory, and insufficient accusation that it existed and it

was breached. AIC has not pled facts sufficient to support its allegation that an agreement existed

between the parties, let alone the terms of that agreement. It has not pled facts sufficient to show

a meeting of the minds as to any of the essential terms of the alleged Oral Agreement including

each party’s obligations with respect to price, payment, or duration.

                     b. AIC failed to plead facts sufficient to establish that Cosayach was prohibited
                        from terminating the Oral Agreement.

           AIC alleges Cosayach violated the Oral Agreement by stopping the supply of iodine to

AIC and appointing a new distributor.23 However, AIC fails to plead facts sufficient to allege that

Oral Agreement had any agreed duration. Duration is a material term. Tonkin v. Amador, 01-07-

00496-CV, 2009 WL 1424724, at *3 (Tex. App.—Houston [1st Dist.] May 21, 2009, no pet.)

(mem. op.) (quoting Material Terms, Black’s Law Dictionary (8th ed. 2004)).

           Further, it is well established that contracts which contemplate a series of performances

over time, like the alleged order-by-order distribution contract at issue, and which are indefinite in

duration, can be terminated at the will of either party for any reason or no reason. Clear Lake City

Water Auth. v. Clear Lake Utilities Co., 549 S.W.2d 385, 390 (Tex. 1977). Perpetual contracts are

disfavored; thus, they are presumed to be terminable at will. See Trient Partners I Ltd. v.

Blockbuster Entm’t Corp., 83 F.3d 704, 708 (5th Cir. 1996). Consequently, even accepting as true

Plaintiff’s allegations, Cosayach was free to terminate the alleged Oral Agreement by conduct or


23
     Id. at ¶ 17, 20. Plaintiff also alleges that “Cosayach did not terminated (sic) the [Oral] Agreement.” See id. ¶ 18.

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otherwise and without notice because any agreement that existed between the parties was

terminable at will.

                    c. AIC failed to plead facts sufficient to establish that the Oral Agreement was
                       exclusive.

           AIC alleged Cosayach violated the Oral Agreement by appointing a new North American

distributor, but failed to plead facts sufficient to establish that exclusivity was even a requirement

of the alleged Oral Agreement.24 More specifically, AIC has not pled facts sufficient to show the

parties had a meeting of the minds regarding the exclusivity of the Oral Agreement.

                2. The alleged Oral Agreement would be unenforceable pursuant to the Statute
                   of Frauds.

           Even if AIC has pled facts sufficient to support that the parties entered into the Oral

Agreement, its claims still fail because AIC does not plead the existence of a writing, signed by

Cosayach evidencing the terms of the alleged contract.

           The Uniform Commercial Code’s (“UCC”) Statute of Frauds, as enacted into the Texas

Business and Commerce Code, applies to an agreement for the sale of goods worth $500 or more.

Such a contract is not enforceable unless it is in writing and signed by the party against whom

enforcement is sought. Tex. Bus. & Com. Code Ann. § 2.201 (“Except as otherwise provided in

this section a contract for the sale of goods for the price of $500 or more is not enforceable by way

of action or defense unless there is some writing sufficient to indicate that a contract for sale has

been made between the parties and signed by the party against whom enforcement is sought or by

his authorized agent or broker.”).

           The alleged Oral Agreement, as pleaded, concerns the sale of goods. See Cont’l Casing

Corp. v. Siderca Corp., 38 S.W.3d 782, 788 (Tex. App.—Houston [14th Dist.] 2001, no pet.)



24
     Pl.’s Am. Compl. ¶¶ 17, 20, 24.

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(“[T]he overwhelming majority of jurisdictions that have considered [whether a distributorship

agreement is a ‘contract for the sale of goods’ under the UCC] have concluded that distributorship

agreements are subject to the UCC.”). Although Plaintiff does not plead a value of the alleged Oral

Agreement, it is obvious from context that the value is far in excess of $500. In any event, AIC

asserts its damages, which it alleges all arise in some way out of the breach of the Oral Agreement,

are in excess of the $75,000 jurisdictional minimum. 25

         In addition, the general Texas Statute of Frauds requires a signed writing that evidences

any contract “which is not to be performed within one year from the date of making the

agreement.” Tex. Bus. & Com. Code § 26.01(b)(6). While AIC does not allege the term of the Oral

Agreement, Plaintiff’s allegation that the 2006 agreement was breached in 2020 implies a term of

at least 14 years. Accordingly, the alleged Oral Agreement would also violate the Statue of Frauds

by virtue of its duration.

         Thus, as pleaded, the alleged Oral Agreement is subject to the Statute of Frauds.

Accordingly, to plausibly plead a breach of the Oral Agreement, AIC must have pleaded facts that

establish the existence of a writing documenting the terms of the Oral Agreement, which was

signed by Cosayach.26 It has failed to do so. Because all of Plaintiff’s claims rely on the

enforceability of the Oral Agreement, Plaintiff has failed to plead claims that are plausible on their

face. See Twombly, 550 U.S. at 570.




25
   Pl.’s Am. Compl.¶ 30, 36.
26
   The statute of frauds is an affirmative defense. Tex. R. Civ. P. 94. A court may dismiss a breach of contract claim
under Texas law for failure to state a claim where an affirmative defense is clear on the face of the pleadings. Turnbow
v. PNC Mortg., 4:12-CV-2835, 2013 WL 5410075, at *4 (S.D. Tex. Sept. 25, 2013) (granting dismissal of a breach
of contract claim where the contract failed to satisfy the statute of frauds.).

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        B. Breach of Contract—Even if an Enforceable Agreement Exists, AIC Failed to Plead
           Facts Sufficient to Show Performance
           AIC failed to plead facts sufficient to support that it performed or tendered performance

under the Oral Agreement. A breach of contract claim fails when a party fails to perform or tender

performance under the terms of an agreement. See, e.g., Wilson v. Kennard, 05-91-01718-CV,

1992 WL 238580, at *2 (Tex. App.—Dallas Sept. 25, 1992, no writ) (reversing a grant of summary

judgment where the record established that the plaintiff failed to establish tender of performance

or allege that the plaintiff was ready, willing, and able to comply with the contract).

           Plaintiff has not, and cannot, assert that it has complied with its obligation to pay Cosayach

for the product it has received. To the contrary, Plaintiff implicitly concedes that it has not paid

Cosayach, stating, “Plaintiff has previously paid Cosayach timely without any default for all the

iodine purchased from Cosayach. However, during to the Covid19 pandemic Cosayach has taken

advantage of this economic situation . . .”27 and “[m]anagement of Plaintiff has also been

threatened several times by Cosayach, including that if Plaintiff does not pay alleged outstanding

invoices to Cosayach. [sic]”28 This allegation not only lacks any factual detail as to how Cosayach

has “taken advantage of” AIC, but also lacks factual detail as to why Cosayach’s actions were a

violation of the Oral Agreement. Given the lack of specificity, Cosayach is left to assume, through

vague pleadings and its knowledge of the parties’ prior dealings, that AIC is alleging they were no

longer able to pay Cosayach because of the economic effect of the COVID-19 pandemic. If true,

AIC is admitting to its own breach of the Oral Agreement.

           Lastly, AIC states that it suffered damages as a result of Cosayach’s alleged violations of

the Oral Agreement, and that it is entitled to exemplary damages because its injury resulted from



27
     Pl.’s Am. Compl. ¶ 17 (emphasis added)
28
     Id. ¶ 23.

                                                    11
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Cosayach’s willful and/or malicious conduct (although no factual details to this end are

provided).29 However, in an action for breach of contract, a plaintiff cannot recover exemplary

damages even if the contract is breached intentionally or maliciously. Jim Walter Homes, Inc. v.

Reed, 711 S.W.2d 617, 618 (Tex. 1986).

        For these reasons, AIC’s breach-of-contract claim should be dismissed.

            1. If AIC pleaded facts sufficient to support a breach of contract claim, Cosayach
               is excused from performing its obligations under the alleged Oral Agreement
               because AIC materially breached first.

        AIC’s failure to meet its payment obligations under the Oral Agreement, which AIC

appears to concede30, discharged Cosayach of the duty to continue to use AIC as a distributor.

And, in fact, it was this breach, among others, by AIC that triggered Cosayach to find a new North

American distributor. That fact is fatal to AIC’s claims here because, “[u]nder Texas law,

the first material breach of a contract by one party discharges the duty of further performance by

the other party.” Phoenix Aero Aviation Eng’g, Ltd. v. Trace Engines, L.P., MO-11-CV-007, 2013

WL 12302980, at *4 (W.D. Tex. Jan. 4, 2013).

     C. If an Enforceable Agreement Exists, AIC Failed to Plead Facts Sufficient to Support
        a Claim for Tortious Interference with Existing Contracts.
        AIC alleges Cosayach interfered with the Oral Agreement and AIC’s client relationships.31

To establish a claim for tortious interference with an existing contract, AIC must show: (1) AIC

had a valid contract; (2) Cosayach willfully and intentionally interfered with the contract; (3) the

interference proximately caused AIC’s injury; and (4) AIC incurred actual damage or loss.

Community Health Sys. Prof’l Servs v. Hansen, 525 S.W.3d 671, 689 (Tex. 2017).



29
   Id. ¶ 31.
30
   See Pl.’s Am. Compl. ¶ 17 (alleging that AIC has “previously paid Cosayach timely without any default,” but that
Cosayach has “taken advantage of [the] economic situation . . . by stopping supplies to Plaintiff, and unilaterally
appointing a new distributor, in violation of the Oral Agreement.”)
31
   Pl.’s Am. Compl. ¶ 36.

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           First, Cosayach cannot interfere with a contract to which it is a party. Id.; In re Vesta Ins.

Group, 192 S.W.3d 759, 761 (Tex. 2006) (defendant must “be a stranger” to the contract;

defendant cannot interfere with its own contract). Therefore, AIC’s claim for tortious interference

with the Oral Agreement fails.

           Second, for the reasons detailed above, AIC cannot establish that it had a valid contract

(i.e., an exclusive distribution agreement with Cosayach which Cosayach could never terminate,

not even in the face of a material breach by AIC). As explained above, all of AIC’s allegations that

form the basis of its tortious-interference claim are tied to the alleged Oral Agreement. If the Oral

Agreement is not valid and enforceable—which it is not—then all of AIC’s tort claims against all

Defendants fail.

           Third, AIC has failed to plead sufficient facts to establish that valid contracts with third

parties existed. AIC concludes that Cosayach and the other named Defendants used AIC’s

“confidential customer data and market intelligence to . . . usurp Plaintiff’s business . . . tortuously

[sic] interfering with [AIC]’s client relationship and customer contracts.” 32 Yet it failed to plead

facts to support this conclusion or any other conclusion in the Amended Complaint accusing

Cosayach of interfering with AIC’s client relationships. AIC also failed to plead any alleged acts

of interference.

           Fourth, AIC has failed to plead facts that, if true, show that Cosayach willfully and

intentionally interfered with AIC’s client contracts. To establish this claim, AIC must show that

Cosayach had the intent to interfere with AIC’s contracts, not just an intent to do the particular

acts AIC accuses Cosayach of doing. See Southwestern Bell Tel. Co. v. John Carlo Tex., Inc., 843

S.W.2d 470, 472 (Tex. 1992) (defendant must intend interference as a consequence of its actions).



32
     Pl.’s Am. Compl. ¶ 35.

                                                    13
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AIC accuses Cosayach and the other named Defendants of conspiring to use “confidential

customer data and market intelligence” to contact AIC’s customers. 33 So, AIC was required to

plead facts sufficient to plausibly show that Cosayach contacted AIC customers with the intention

to interfere with their contracts with AIC. The requirement is not to plead facts showing that

Cosayach intended to contact AIC customers, which is what AIC has done in the Amended

Complaint. AIC fails to allege that Cosayach intended to interfere with its client relationships,

much less allege facts that, if true, support such a conclusion.

           Fifth, AIC has failed to show that any interference caused it actual damage or loss. Instead,

AIC merely concludes that Cosayach’s interference with AIC’s client relationships caused its

damages without any factual support for such a conclusion.

           For these reasons, AIC’s tortious interference claim against Cosayach should be dismissed,

and its claim against the other Defendants necessarily fails for the same reasons.

        D. If an Enforceable Agreement Exists, AIC Failed to Plead Facts Sufficient to Support
           a Claim for Tortious Interference with Prospective Relations.

           AIC alleges the Defendants interfered with AIC’s continued and future business

relationships, and with the relationship between AIC and Cosayach. 34 To establish a claim for

tortious interference with prospective relations, AIC must show: (1) there was a reasonable

probability that AIC would have entered into a business relationship with a third person;

(2) Cosayach intentionally interfered with the relationship; (3) Cosayach’s conduct was

independently tortious or unlawful; (4) the interference proximately caused AIC’s injury; and

(5) AIC suffered actual damage or loss. Coinmach Corp. v. Aspenwood Apt. Corp., 417 S.W.3d

909, 923 (Tex. 2013). Further, AIC must establish that it had: (1) a business relationship that had



33
     Pl.’s Am. Compl. ¶ 35.
34
     Id. at ¶¶ 39, 40.

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not yet been reduced to a contract or (2) a continuing business relationship that was not formalized

by a written contract. Heil-Quaker Corp v. Mischer Corp, 863 S.W.2d, 210, 214 (Tex. App.—

Houston [14th Dist.] 1993), writ granted w.r.m, 877 S.W.2d 300 (Tex. 1994).

           First, AIC alleges that Cosayach interfered with the Oral Agreement. But Cosayach cannot

do so as a matter of law. See Hansen, 525 S.W.3d at 689; In re Vesta, 192 S.W.3d at 761 (defendant

must “be a stranger” to the contract; defendant cannot interfere with its own contract).

           Second, AIC wholly fails to allege that Cosayach interfered with a prospective business

relationship that had not yet been reduced to writing. In fact, it alleges the opposite: that Defendants

(including Cosayach) interfered with the relationship between AIC and Cosayach and AIC’s

clients.35 At no point in the Amended Complaint does AIC allege interference with a business

relationship with any entity other than its current customers. Moreover, AIC makes only a

conclusory allegation that there was a reasonable probability that it would have entered into

continued and future business relationships with its client,36 but provides no facts in support of that

claim.

           Third, AIC must establish that Cosayach’s conduct is actionable under a recognized tort.

Wal-Mart Stores v. Sturges, 52 S.W.3d 711, 726 (Tex. 2001) (“[A] plaintiff must prove that the

defendant’s conduct was independently tortious or wrongful. [That is] plaintiff must prove that the

defendant’s conduct would be actionable under a recognized tort.”). AIC has not alleged any facts

to establish Cosayach has engaged in independently tortious conduct.

           Fourth, as with its tortious-interference claim, here AIC has failed to plead facts that, if

true, show that Cosayach willfully and intentionally interfered with AIC’s prospective client

relationships. To establish this claim, AIC must show that Cosayach had the intent to interfere


35
     See Pl.’s Am. Compl. ¶ 40.
36
     See Pl.’s Am. Compl. § 39

                                                   15
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with AIC’s contracts, not just an intent to do the particular acts AIC accuses Cosayach of doing.

See Southwestern Bell Tel. Co., 843 S.W.2d at 472 (defendant must intend interference as a

consequence of its actions). Thus, AIC was required to plead facts sufficient to plausibly show that

Cosayach contacted AIC’s prospective customers with the intention to interfere with their

contracts with AIC. The requirement is not to plead facts showing that Cosayach intended to

contact AIC’s prospective customers, which is what AIC has done in the Amended Complaint.

AIC fails to allege that Cosayach intended to interfere with its client relationships, much less allege

facts that, if true, support such a conclusion.

           Fifth, AIC has failed to show that any interference caused it actual damage or loss. Instead,

AIC merely concludes that Cosayach’s interference with AIC’s client relationships caused its

damages without any factual support for such a conclusion.

           For these reasons, AIC’s claim for tortious interference with existing contracts against

Cosayach should be dismissed, and its claim against the other Defendants necessarily fails for the

same reasons.

        E. If an Enforceable Agreement Exists, AIC Failed to Plead Facts Sufficient to Establish
           a Claim for Conspiracy.

           AIC alleges that the Defendants conspired to use AIC’s confidential information to put

AIC out of business in violation of the Oral Agreement. 37 To establish a claim for conspiracy, AIC

must prove: (1) defendant was a member of a combination of two or more persons; (2) the object

of the combination was to accomplish an unlawful purpose or a lawful purpose by unlawful means;

(3) the members had a meeting of the minds on the object or course of action; (4) one of the

members committed an unlawful, overt act to further the object or course of action; and (5) AIC




37
     Pl.’s Am. Compl. ¶ 44.

                                                    16
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suffered injury as a proximate result of the wrongful act. First United Pentecostal Ch. v. Parker,

514 S.W.3d 214, 222 (Tex. 2017).

         AIC alleges that the goal of the conspiracy was to violate the Oral Agreement with

attendant consequences of harming AIC. For reasons detailed above, AIC cannot establish that

AIC and Cosayach had a valid contract. Thus, AIC’s claim fails as a matter of law.

         Second, as part of establishing the elements of conspiracy, AIC must show that at least one

of the named Defendants was liable for an underlying intentional tort. Tilton v. Marshall, 925

S.W.2d 672, 681 (Tex. 1996). Because the tort claims are based on the Oral Agreement, for the

reasons explained above, AIC has not alleged—and cannot allege—any facts that Cosayach, or

any other named Defendant, has engaged in actionable tortious conduct. 38

         Third, AIC has failed to show that any interference caused it actual damage or loss. Instead,

AIC merely concludes that Cosayach’s interference with AIC’s client relationships caused its

damages without any factual support for such a conclusion.

         Fourth, conspiracy requires a meeting of the minds on the course or object of the action.

First United Pentecostal Ch., 514 S.W.3d at 222. AIC has failed to plead facts that, if true, would

demonstrate a meeting of the minds.

         Finally, AIC has pleaded that Mitsui and Marubeni are agents of Cosayach. 39 Under Texas

law, a principal cannot conspire with its agents. See, e.g., Bradford v. Vento, 48 S.W.3d 749, 761

(Tex. 2001).

         For these reasons, AIC’s claim for conspiracy should be dismissed, and its claim against

the other Defendants necessarily fails for the same reasons.



38
   Breach of contract is not a tort, and thus cannot be a basis of a conspiracy claim. Grizzle v. Texas Commerce Bank,
38 S.W.3d 265, 285 (Tex. App.—Dallas 2001), rev’d in part on other grounds, 96 S.W.3d 250 (Tex. 2002).
39
   Pl.’s Am. Compl. ¶ 44

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                                      VI.     CONCLUSION

       For the foregoing reasons, Cosayach respectfully requests that the Court dismiss all claims

asserted against it with prejudice to the same. For the same reasons, any attempt by AIC to amend

would be futile. Accordingly, the Court should deny leave to amend. Cosayach also requests all

further relief to which it may be justly entitled, including attorneys’ fees and court costs.



 Dated: September 21, 2020                             Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

       I certify that I served the foregoing document on all counsel of record on September 21,
2020 via the court’s CM/ECF system.

                                                     /s/ Allissa A.R. Pollard
                                                    Allissa A.R. Pollard




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